1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.          Eric M Haley, Trustee
                                                           UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF ARIZONA
                                                                   PHOENIX DIVISION


                   In Re:                                                                          §
                                                                                                   §
                   NICHOLAS ROSS HALE                                                              §           Case No. 2:17-bk-07858-MCW
                   AMY LINES HALE                                                                  §
                                                                                                   §
                                                                 Debtors                           §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                    07/11/2017 . The undersigned trustee was appointed on 07/11/2017 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $                 8,825.00

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                              0.00
                                                     Bank service fees                                                                   60.00
                                                     Other payments to creditors                                                          0.00
                                                     Non-estate funds paid to 3rd Parties                                                 0.00
                                                     Exemptions paid to the debtor                                                        0.00
                                                     Other payments to the debtor                                                     3,925.31
                                                                                               1
                                                     Leaving a balance on hand of                                   $                 4,839.69

             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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       The remaining funds are available for distribution.

             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 11/17/2017 and the
      deadline for filing governmental claims was 01/07/2018 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 1,224.92 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 1,224.92 , for a total compensation of $ 1,224.92 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 6.05 , for total expenses of $ 6.05 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 01/16/2019                                     By:/s/Eric M. Haley
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                              FORM 1
                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                           ASSET CASES
                                                                                                                                                                                           Exhibit A
Case No:             17-07858                       MCW   Judge:        Madeleine C. Wanslee                        Trustee Name:                      Eric M. Haley
Case Name:           NICHOLAS ROSS HALE                                                                             Date Filed (f) or Converted (c):   07/11/2017 (f)
                     AMY LINES HALE                                                                                 341(a) Meeting Date:               08/14/2017
For Period Ending:   01/16/2019                                                                                     Claims Bar Date:                   11/17/2017


                                  1                                    2                            3                            4                          5                             6

                         Asset Description                           Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)              Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                     Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                               Exemptions,                                                                              Assets
                                                                                             and Other Costs)

  1. 976 S. WANDA DR.                                                      175,000.00                        0.00                                                       0.00                        FA
     GILBERT AZ 85296-0000 MARICOPA
  2. 2013 GMC YUKON MILEAGE: 86,140 VALUATION METHOD                        22,602.00                   22,602.00                                                       0.00                        FA
     - KELLEY BLU
  3. 2004 TOYOTA COROLLA MILEAGE: 173,000 VALUATION                          2,186.00                    2,186.00                                                       0.00                        FA
     METHOD - KELL
  4. MISCELLANEOUS HOUSEHOLD GOODS & FURNISHINGS                                 850.00                      0.00                                                       0.00                        FA
  5. MISCELLANEOUS SMALL CONSUMER ELECTRONICS                                    300.00                      0.00                                                       0.00                        FA
  6. COMPUTERS                                                                   150.00                      0.00                                                       0.00                        FA
  7. MISCELLANEOUS CLOTHING                                                  1,000.00                        0.00                                                       0.00                        FA
  8. WEDDING RINGS                                                               300.00                      0.00                                                       0.00                        FA
  9. APPLE WATCH                                                                 300.00                      0.00                                                       0.00                        FA
 10. ONE FISH AND ONE DOG                                                          0.00                      0.00                                                       0.00                        FA
 11. CASH ON HAND                                                                  5.00                      0.00                                                       0.00                        FA
 12. DESERT SCHOOLS FEDERAL CREDIT UNION (#8780)                                 403.77                      0.00                                                       0.00                        FA
 13. DESERT SCHOOLS FEDERAL CREDIT UNION (#8700)                                  25.16                      0.00                                                       0.00                        FA
 14. FLEXIBLE PLAN INVESTMENTS, LTD.                                        56,793.00                        0.00                                                       0.00                        FA
 15. PUBLIC SAFETY RETIREMENT SYSTEM RETIREMENT                                  736.71                      0.00                                                       0.00                        FA
     ACCOUNT
 16. APPROXIMATELY 52.60% OF POTENTIAL 2017                                  2,630.00                    1,393.90                                                8,825.00                           FA
     TAX REFUNDS, INCLUDI
 17. LIBERTY MUTUAL - VEHICLE INSURANCE POLICY                                     0.00                      0.00                                                       0.00                        FA
 18. AHCCCS - HEALTH INSURANCE                                                     0.00                      0.00                                                       0.00                        FA
 19. OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OF                            70,000.00                   70,000.00                                                       0.00                        FA
     EVERY NATURE (u)


                                                                                                                                                                       Gross Value of Remaining Assets


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TOTALS (Excluding Unknown Values)                                                   $333,281.64                  $96,181.90                                             $8,825.00                      $0.00
                                                                                                                                                                            (Total Dollar Amount in Column 6)
                                                                                                                                                                                                Exhibit A
Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

TFR ready for submission to UST after government reopening - Eric Haley 1/16/2019
Claims reviewed - Xiomara Rodgers 11/7/2018
QUARTERLY REVIEW: ready for claims review and TFR - Eric Haley 10/5/2018
QUARTERLY REVIEW: ready for claims review and TFR - Eric Haley 7/6/2018
Issued Debtor share 2017 tax refunds; ready for claims review and TFR - Eric Haley 5/23/2018
Rec'd 2017 Tax Returns - Eric Haley 5/9/2018
Sent Demand Letter for 2017 Tax Return/Refund - Jean LaCloche 5/1/2018
QUARTERLY REVIEW: second lienholder filed application to claim unclaimed funds; holding for 2017 tax returns/refunds - Eric Haley 3/30/2018
Researching notification that $70K unclaimed funds available to Debtor; continuing to hold for 2017 income tax refunds; employing attorney to assist in unclaimed funds collection
- Eric Haley 2/3/2018
QUARTERLY REVIEW: Holding for 2017 tax returns/refunds - Eric Haley 12/14/2017
Tax Intercept Letter mailed to IRS - Jean LaCloche 12/6/2017
QUARTERLY REVIEW: Hold for 2017 tax returns/refunds - Jean LaCloche 10/15/2017
Hold for 2017 tax returns/refund - Jean LaCloche 9/7/2017
Ttee atty advise/assist re valuation of Schd A real estate - 976 S. Wanda Dr, Gilbert, AZ - Jean LaCloche 8/17/2017
Rec'd call from Citi Mortgage re Ttee interest in property. Explained that determination has not been made. - Jean LaCloche 8/17/2017



RE PROP #            19    --   Unclaimed funds owed to Debtor

Initial Projected Date of Final Report (TFR): 12/31/2018            Current Projected Date of Final Report (TFR): 12/31/2018




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                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 17-07858                                                                                              Trustee Name: Eric M. Haley                                              Exhibit B
      Case Name: NICHOLAS ROSS HALE                                                                                         Bank Name: Union Bank
                   AMY LINES HALE                                                                                  Account Number/CD#: XXXXXX5602
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX2891                                                                              Blanket Bond (per case limit): $0.00
For Period Ending: 01/16/2019                                                                             Separate Bond (if applicable):


       1                2                              3                                             4                                                     5                   6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   05/21/18             16         UNITED STATES TREASURY                    2017 FED INCOME TAX                                   1124-000                 $8,825.00                                 $8,825.00
                                                                             REFUND
   05/23/18            101         NICHOLAS ROSS HALE                        DEBTOR SHARE 2017                                     8500-002                                     $3,925.31             $4,899.69
                                   AMY L HALE                                INCOME TAX REFUNDS
                                   510 E. MEADOWS LN.
                                   GILBERT, AZ 85234
   06/25/18                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $15.00            $4,884.69
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   07/25/18                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $15.00            $4,869.69
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   08/27/18                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $15.00            $4,854.69
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   09/25/18                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $15.00            $4,839.69
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   11/05/18                        Transfer to Acct # xxxxxx0469             Transfer of Funds                                     9999-000                                     $4,839.69                 $0.00



                                                                                                             COLUMN TOTALS                                  $8,825.00           $8,825.00
                                                                                                                   Less: Bank Transfers/CD's                    $0.00           $4,839.69
                                                                                                             Subtotal                                       $8,825.00           $3,985.31
                                                                                                                   Less: Payments to Debtors                    $0.00                $0.00
                                                                                                             Net                                            $8,825.00           $3,985.31




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                                    Case 2:17-bk-07858-MCW                    DocPage
                                                                                  37 Subtotals:
                                                                                       Filed 02/07/19                                         $8,825.00
                                                                                                                        Entered 02/07/19 14:24:23     Desc                      $8,825.00
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                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 17-07858                                                                                              Trustee Name: Eric M. Haley                                              Exhibit B
      Case Name: NICHOLAS ROSS HALE                                                                                         Bank Name: Axos Bank
                   AMY LINES HALE                                                                                  Account Number/CD#: XXXXXX0469
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX2891                                                                              Blanket Bond (per case limit): $0.00
For Period Ending: 01/16/2019                                                                             Separate Bond (if applicable):


       1                2                              3                                             4                                                     5                   6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   11/05/18                        Transfer from Acct # xxxxxx5602           Transfer of Funds                                     9999-000                 $4,839.69                                 $4,839.69



                                                                                                             COLUMN TOTALS                                  $4,839.69                $0.00
                                                                                                                   Less: Bank Transfers/CD's                $4,839.69                $0.00
                                                                                                             Subtotal                                           $0.00                $0.00
                                                                                                                   Less: Payments to Debtors                    $0.00                $0.00
                                                                                                             Net                                                $0.00                $0.00




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                                                                                  37 Subtotals:
                                                                                       Filed 02/07/19                                         $4,839.69
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                                                                                                                                                           Exhibit B
                                                                                      TOTAL OF ALL ACCOUNTS
                                                                                                                                      NET             ACCOUNT
                                                                                                    NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                          XXXXXX0469 - Checking                                               $0.00                  $0.00             $4,839.69
                                          XXXXXX5602 - Checking                                           $8,825.00              $3,985.31                 $0.00
                                                                                                          $8,825.00              $3,985.31             $4,839.69

                                                                                                  (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                          transfers)            to debtors)
                                          Total Allocation Receipts:                     $0.00
                                          Total Net Deposits:                         $8,825.00
                                          Total Gross Receipts:                       $8,825.00




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                                                                37 Subtotals:
                                                                     Filed 02/07/19    Entered 02/07/19 14:24:23$0.00Desc                     $0.00
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                                          TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 2:17-bk-07858-MCW
     Case Name: NICHOLAS ROSS HALE
                 AMY LINES HALE
     Trustee Name: Eric M. Haley
                         Balance on hand                                              $                  4,839.69

               Claims of secured creditors will be paid as follows:

                                                             Allowed            Interim
                                                             Amount of          Payment to         Proposed
       Claim No. Claimant                     Claim Asserted Claim              Date               Payment
                      CAPITAL ONE
                      AUTO FINANCE,
                      A DIVISION OF
       3              CAPITAL ON             $    16,203.34 $      16,203.34 $             0.00 $             0.00
                 Total to be paid to secured creditors                                $                       0.00
                 Remaining Balance                                                    $                  4,839.69


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant                Total Requested    to Date          Payment
       Trustee Fees: Eric M. Haley                       $       1,224.92 $               0.00 $         1,224.92
       Trustee Expenses: Eric M. Haley                   $            6.05 $              0.00 $              6.05
                 Total to be paid for chapter 7 administrative expenses               $                  1,230.97
                 Remaining Balance                                                    $                  3,608.72


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                              NONE




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              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 13,164.97 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 27.4 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
     1                    DISCOVER BANK              $        10,477.18 $              0.00 $          2,871.96
                          U.S. BANK NA DBA
                          ELAN FINANCIAL
     2                    SERVICES                   $         2,687.79 $              0.00 $            736.76
                 Total to be paid to timely general unsecured creditors               $                3,608.72
                 Remaining Balance                                                    $                     0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:




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                                                          NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                          NONE




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